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                          THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

      DISPLAY TECHNOLOGIES, LLC,

                          Plaintiff,                  Civil Action No. 2:15-cv-998-JRG-JRP

                  v.                                      CONSOLIDATED LEAD CASE

      NVIDIA CORPORATION, et al.,

                          Defendant.
  .

                          ORDER GRANTING MOTION TO DISMISS

          In light of the Motion to Dismiss filed by Plaintiff Display Technologies, LLC

  (“Display”), the Court HEREBY ORDERS as follows:


          1.     Display’s claims against JK Imaging Ltd. are hereby dismissed WITH

  PREJUDICE.


          2.     Display and JK Imaging Ltd. shall each bear their own attorneys’ fees and costs

  incurred in connection with this action.
          SIGNED this 3rd day of January, 2012.
           SIGNED this 9th day of March, 2016.




                                                        ____________________________________
                                                        ROY S. PAYNE
                                                        UNITED STATES MAGISTRATE JUDGE
